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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §
                                    §
vs.                                 §             Case No: 2:16-cv-00450-JRG
                                    §
CITIBANK, N.A.                      §             LEAD CASE
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §
                                    §
vs.                                 §             Case No: 2:16-cv-00458-JRG
                                    §
LIFELOCK, INC.                      §             CONSOLIDATED CASE
                                    §
      Defendant.                    §
    .
___________________________________ §

                                          ORDER

  On this day the Court considered the Unopposed Motion to Dismiss Lifelock, Inc. (Dkt. No. 6).

It is therefore ORDERED that all claims by Symbology Innovations, LLC against Lifelock, Inc. are

hereby DISMISSED WITHOUT PREJUDICE, with each party to bear its own costs, expenses and

attorneys’ fees.

      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 9th day of June, 2016.




                                                     ____________________________________
                                                     RODNEY GILSTRAP
                                                     UNITED STATES DISTRICT JUDGE
